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 5   Attorney for Defendant
     ROBERT OLIVER
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 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                   )
12                                               )
                           Plaintiff,            )      No. Cr. S-04-118 LKK
13                                               )
                                                 )      STIPULATION AND
14                   v.                          )      ORDER RE: BRIEFING SCHEDULE;
                                                 )      EXCLUSION OF TIME
15                                               )
     ROBERT OLIVER, et al.,                      )
16                                               )
                           Defendants.           )
17                                               )
18          The United States of America, through Assistant U.S. Attorney John K. Vincent, and
19   defendant Robert Oliver, through his counsel Scott L. Tedmon; defendant David C. Harrison,
20   through his counsel L. Bruce Locke; defendant Robert G. Hodges, through his counsel Mark
21   Reichel; and defendant Edwin Jensen, through his counsel Emmett Mahle, hereby stipulate and
22   agree to the following briefing schedule:
23   July 10, 2007         Defense motions due
24   July 31, 2007         Government’s responses due
25   August 7, 2007        Defense reply briefs due
26   August 14, 2007       Non-evidentiary hearing at 9:30 a.m.
27          The Court has set the matter for trial to begin on October 16, 2007 at 9:00 a.m. Trial
28   confirmation hearing is scheduled for October 2, 2007 at 9:30 a.m. Both the jury trial and trial

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 1   confirmation hearing dates are confirmed by all parties.
 2                            SPEEDY TRIAL ACT - EXCLUSION OF TIME
 3             The parties stipulate the Court should reiterate its previous finding that time be excluded
 4   through October 16, 2007 under the Speedy Trial Act based on the needs of counsel to prepare
 5   pursuant to 18 U.S.C. §3161(h)(8)(B)(iv); Local Code T4. The parties stipulate and agree that the
 6   interests of justice served by granting this continuance outweigh the best interests of the public and
 7   the defendants in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).
 8             Finally, Scott L. Tedmon has been authorized by all counsel to sign this stipulation on their
 9   behalf.
10   IT IS SO STIPULATED.
11   DATED: June 20, 2007                            McGREGOR W. SCOTT
                                                     United States Attorney
12
                                                       /s/ John K. Vincent
13                                                   JOHN K. VINCENT
                                                     Assistant U.S. Attorney
14
15   DATED: June 20, 2007                            LAW OFFICES OF SCOTT L. TEDMON
16                                                    /s/ Scott L. Tedmon
                                                     SCOTT L. TEDMON
17                                                   Attorney for Robert Oliver
18
     DATED: June 20, 2007                            LAW OFFICE OF MOSS & LOCKE
19
                                                       /s/ L. Bruce Locke
20                                                   L. BRUCE LOCKE
                                                     Attorney for David C. Harrison
21
22   DATED: June 20, 2007                            LAW OFFICE OF MARK REICHEL
23                                                    /s/ Mark Reichel
                                                     MARK REICHEL
24                                                   Attorney for Robert G. Hodges
25
     DATED: June 20, 2007                            LAW OFFICE OF EMMETT MAHLE
26
                                                      /s/ Emmett Mahle
27                                                   EMMETT MAHLE
                                                     Attorney for Edwin Jensen
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 1                                                 ORDER
 2          GOOD CAUSE APPEARING and based upon the above stipulation, IT IS HEREBY
 3   ORDERED that the briefing schedule is as follows:
 4   July 10, 2007          Defense motions due
 5   July 31, 2007          Government’s responses due
 6   August 7, 2007         Defense reply briefs due
 7   August 14, 2007        Non-evidentiary hearing at 9:30 a.m.
 8          The Court has previously set the matter for trial to begin on October 16, 2007 at 9:00 a.m.
 9   The trial confirmation hearing is scheduled for October 2, 2007 at 9:30 a.m. Both the jury trial and
10   trial confirmation dates are confirmed.
11          The Court reiterates its previous finding that time be excluded under the Speedy Trial Act
12   for need of counsel to prepare pursuant to 18 U.S.C. §3161(h)(8)(B)(iv), Local Code T4, through
13   the jury trial date of October 16, 2007. The Court finds that the interests of justice served by
14   ordering this schedule outweigh the best interests of the public and the defendants in a speedy trial.
15   18 U.S.C. § 3161(h)(8)(A).
16          IT IS SO ORDERED.
17   DATED: June 21, 2007
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